    Case: 1:16-cr-00811 Document #: 22 Filed: 01/23/17 Page 1 of 3 PageID #:72




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )         No. 16 CR 811
             v.                           )
                                          )         Judge Virginia M. Kendall
CHARLES J. DUSHEK                         )

              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the agreed motion of the government, pursuant to Fed. R. Crim. P.

16(d), it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for,

or in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendant and

defendant’s counsel (defined as counsel of record in this case) solely in connection

with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

      2.     Defendant and defendant’s counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential

witnesses, counsel for potential witnesses, and other persons to whom the Court

may authorize disclosure (collectively, “authorized persons”). Potential witnesses

and their counsel may be shown copies of the materials as necessary to prepare the

defense, but may not retain copies without prior permission of the Court.
    Case: 1:16-cr-00811 Document #: 22 Filed: 01/23/17 Page 2 of 3 PageID #:73




      3.     Defendant and defendant’s counsel, and authorized persons shall not

copy or reproduce the materials except in order to provide copies of the materials for

use in connection with this case by defendant and defendant’s counsel, and

authorized persons. Such copies and reproductions shall be treated in the same

manner as the original materials.

      4.     Defendant and defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents

of the materials, other than to authorized persons, and all such notes or records are

to be treated in the same manner as the original materials.

      5.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      6.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      7.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

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     Case: 1:16-cr-00811 Document #: 22 Filed: 01/23/17 Page 3 of 3 PageID #:74




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defense counsel in
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       8.     Nothing contaiined in this Orderr shall prreclude an
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applying to this Co
                  ourt for furrther relieff or for mod
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                                          ENTER:


                                          VIRGINIA  A KENDAL   LL
                                          District Ju
                                                    udge
                                          United Staates Distriict Court
                                          Northern District of Illinois

Date: 1/23/2017
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